FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                     INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 1 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




         SUPREME COURT OF THE STATE OF NEW YORK
         COLINTY OF NEW YORK


         THE NEW YORK CITY MIINICIPAL LABOR
         COMMITTEE, by its Chair HARRY NESPOLI; et al

                                                                Plaintif
                                                  fs,                          AFFIRMATION OF ERIC
                                                                               EICHENHOLTZ IN
                                                                               OPPOSITION TO
                                      -against-                                PLAINTIFFS'
                                                                               APPLICATION FOR A
         The City of New York, et al.,                                         PRELIMINARY
                                                                               INJUNCTION
                                                           3:-T:1_:i:
                                                                           "   rndex   No   15   116et2022

                        ERIC J. EICHENHOLTZ, an attorney admitted to practice before the Courts of

         the State ofNew York, affirms, pursuant to the Civil Practice Law and Rules ("CPLR") and under

         penalty of perjury, that the following is true and correct:

                         1.     I   am the Chief Assistant Corporation Counsel for Employment Policy and

         Litigation within the New York City Office of the Corporation Counsel. I have held this position

         since October,4,2027. In this capacity,I oversee the Law Department's Labor and Employment

         Law, Worker's Compensation and E-Discovery Divisions. I also provide legal advice and counsel

         to City agencies and officials in employment matters. Prior to October 4,2021,I served as the

         Chief of the Labor and Employment Law Division within the Office of the Corporation Counsel.

         As Chief of the Labor and Employment Law Division I oversaw all litigation brought against the

         City arising out of the City's role as an employer.

                        2.      This Affirmation is based on my own personal knowledge, as well as the

         books and records of the City of New York, and statements made to me by other employees of the

         City of New York.     I    submit this Affirmation in opposition to petitioners' application for      a


         preliminary injunction in the above captioned matter.




                                                        1 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                              INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 2 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




                        3.     Pursuant to local, state and federal law, the City has an obligation as an

         employer to provide reasonable accommodations to qualified employees with disabilities, unless

         to do so would cause undue hardship or present a direct threat to the health and safety of others.

         The City is also required under applicable laws to reasonably accommodate an employee whose

         sincerely held religious belief, practice, or observance conflicts with a work requirement, unless

         providing the accommodation would create an undue hardship or present a direct threat.

                        4.     As per the City's EEO Policy, an agency's Equal Employment Opportunity

         ("EEO") Officer and/or Disability Rights Coordinator receives requests for accommodations in

         the first instance. Once received, the EEO Office and/or Disability Rights Coordinator evaluates

         the request and engages the employee in cooperative dialogue to assess the employee's

         accommodation needs and explore ways to meet those needs in a way that does not cause an undue

         hardship for the agency.

                        5.     In the typical course, under the City's EEO Policy, the agency's EEO Office

         must notifu the employee within 30 days of the conclusion of the cooperative dialogue       if their

         request was granted or denied. Under the City's EEO Policy, employees may appeal the denial      of

         an accommodation to their agency head.

                        6.      On October 20,2021, Commissioner of the New York City Department          of

         Health and Mental Hygiene ("DOHMH") Dave A. Chokshi, M.D., issued an order requiring all

         City employees to show proof of at least one dose of avaccination against COVID-I9 by 5:00

         p.m. on October 29,202l (the "City Order").

                        7.      In response to the City Order, the City established additional procedures

         specific to requests for vaccination-related accommodations in an effort to address the anticipated

         increase in accommodation requests that would be made by City employees.



                                                        -L-"'




                                                      2 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                             INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 3 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




                        8.        One day after the issuance of the City Order, on October 21,2021, the New

         York City Department of Citywide Administrative Services ("DCAS") issued guidance in

         connection with the City Order, which included the "FAQ on New York City Employees Vaccine

         Mandate," and a document entitled "Applying for a Reasonable Accommodation from the Covid-

         19      Vaccine Mandate" (collectively, "the                          Guidelines").           See


         https://wwwl .nyc.gov/assets/dcas/downlo_ads/pdflguidelines/vacgjrlq-rciisonable-

         accommoclation-plocess.pdf (last accessed Feb. 9,2022); Plaintiffs' Ex. 19. These docurnents laid

         out the guidelines for seeking an exemption from the City Order through a              reasonable

         accommodation request.

                             9.   The Guidelines specified that a reasonable accommodation was to be

         submitted by an employee to their agency's EEO Officer on or before October 27, 2021. Any

         employee who requested a reasonable accommodation on or before that date was, and continues

         to be, required to submit a negative PCR test result within every seven-day period until their

         reasonable accommodation or subsequent appeal is decided.

                        10.       However, any employee who sought a reasonable accommodation after

         October 27,2021, was to be placed on Leave Without Pay ("LWOP") status effective November

         l,2021while their request, including any appeal,       was pending.

                        1   1.    A grant of a reasonable accommodation for an employee on LWOP results

         in the employee being restored to payroll and provided with back pay for the period of time they

         were on LWOP status.

                        12.       Any employee who is denied a reasonable accommodation by their agency

         has the right to appeal that denial to the City of New York Reasonable Accommodation Appeals

         Panel ("Citywide Panel").



                                                         --t-


                                                       3 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                              INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 4 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




                           13.    The Citywide Panel was created specifically in response to the City Order

         to consider appeals filed by employees whose accommodation requests had been denied by their

         respective agency.

                           14.    The purpose of the Citywide Panel is to ensure that employees who are

         denied a reasonable accommodation can have their appeals heard and considered consistent with

         the standards established by the Americans with Disabilities Act ("ADA"), Title   VII of the Civil

         Rights Act of 1964 ("Title VII"), the New York State Human Rights Law, and the New York City

         Human Rights Law. The Citywide Panel evaluates appeals under the standards set by those laws

         and consistent with the guidance issued by the U.S. Equal Employment Opportunity Commission

         ("EEOC") to assist employers in implementing COVID-19 related strategies compliant with Title

         VII   and the   ADA. This EEOC guidance specifically    addresses accommodation requests made    in

         response to an employer-issued vaccine mandate. See "What You Should Know About COVID-

         19 and the ADA, the                   Rehabilitation    Act, and Other EEO Laws"                 at

                                                        -know                                 itati

         and-other-eeo-laws (last accessed on Feb. 9, 2022).

                           15.    The Citywide Panel also ensures that appeals of reasonable accommodation

         requests concerning the vaccine mandate are processed in a uniform manner throughout the     City's

         workforce.

                            16.   The Citywide Panel is comprised of representatives from the Office of the

         Corporation Counsel ("Law Department"), DCAS, DOHMH and the City Commission on Human

         Rights ("CCHR"). The composition of the Citywide Panel was specifically designed to utilize the

         extensive subject matter expertise and knowledge-base of individuals employed at these City

         agencies with respect to medical and religious accommodation requests'



                                                          -4-

                                                       4 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                 INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 5 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




                         17.     Furthermore,   in   order   to tailor the Citywide   Panel   to best evaluate

         accommodation requests, the composition of the Citywide Panel that considers a particular request

         changes depending on the nature of the request. When the appeal concerns a request for a medical

         accommodation, the Law Department, DCAS and DOHMH panel members consider the appeal.

         If the appeal concerns a request for an accommodation based on a religious             need, the Law

         Department, DCAS and CCHR consider the appeal. This was done by design so as to utilize the

         scientific knowledge    of DOHMH in         evaluating appeals concerning medical requests and,

         similarly, to leverage the expertise of the CCHR with respect to religious accommodation requests.

                         18.     In the event an appeal concerns both a denial of a medical accommodation

         and a religious accommodation,     it is separated into two appeals. Each      appeal   is considered

         independently from the other.

                         19.     In terms of the members of the Citywidg Panel, for the Law Department,

         five attorneys, including myself, currently sit on the Citywide Panel and are tasked with reviewing

         appeals in order to ensure compliance with local, state and federal law.

                         20.     For DCAS, the agency General Counsel, an attorney in the DCAS General

         Counsel's office and two managers within the City's Office of Citywide Equity and Inclusion

         currently sit on the panel.

                         21.     For DOHMH, three employees are tasked with reviewing appeals based on

         medical accommodations.

                         22.     For CCHR, the agency General Counsel, a Deputy General Counsel and

         another agency employee familiar with religious accommodations are tasked with reviewing

         appeals based on a religious accommodation request.




                                                             -5-

                                                        5 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 6 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




                            23.   Each case is reviewed by three Panel members (one Panel member from

         each applicable agency). As detailed below, following a thorough review the appeal, each panel

         member exercises their agency's vote on the Citywide Appeal for that particular appeal. Therefore,

         in   a   religious accommodation appeal, the Law Department, DCAS and CCHR each have one vote.

         Similarly, in a medical accommodation appeal, the Law Department, DCAS and DOHMH each

         have one     vote. Each agency may vote to affirm the denial of the accommodation or to reverse the

         agency decision and grant the accommodation. When there is disagreement amongst the three

         agencies concerning the outcome, the majority rules.

                            24.   Each agency separately reviews each request, although the panel members

         can confer     if they deem it necessary.   Once all three agencies have voted, either myself or the

         General Counsel of DCAS, Sanford Cohen,           will perform a final review of the case for quality

         assurance purposes andfinalize the case. Once the case is frnalized, the agency and employee are

         notified of the appeals panel decision.

                            25.   Prior to reaching the appellate level, with respect to agency-level denials,

         all City employees who are denied a vaccine mandate accommodation by their agency is provided

         with written information on the appeals process, including a link to the City's online       appeals

         request portal: www.nyo. gov/vaxappeal.

                            26.   If   an employee is denied a reasonable accommodation by their agency, they

         may appeal the decision within three business days.

                            27.   An employee may submit an appeal via the online review request portal,

         which will autom aticallynoti$z their agency EEO Officer of the appeal. Upon notification of the

         appeal, the agency's EEO Office        will upload all records concerning the agency's denial of the

         reasonable accommodation request within one business day.



                                                            -6-

                                                         6 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                    INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 7 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




                         28.      Once the Citywide Panel is in receipt          of an appeal, it is reviewed to

         determine whether supplemental information is necessary from either the agency or the employee

         in order to make    a determination on the   appeal. If such information is necessary, the panel makes

         that request to the agency, the employee or both.

                         29.      The applicable panel members then review all the rnaterials provided by the

         agency and the employee. In so reviewing, the panel utilizes the below-described standards which

         comport with city, state and federal law.

                         30.      For medical accommodations, these standards include an assessment of: (1)

         whether the medical condition identified fits within the CDC guidelines concerning whether and

         when vaccination is contraindicated; (2) whether the employee has provided documentation from

         a health care provider demonstrating the nature      of their impairment and the extent to which that

         impairment prevents vaccination; and (3) whether the accommodation requested, i.e. exemption

         from the City Order, would result in an undue hardship or poses a direct threat to the health and

         safety of others.

                         31.      On the undue burderVdirect threat issue, the Citywide Panel also considers

         the following guidance from the EEOC: "The ADA regulation requires an employer to consider

         the duration of the risk, the nature and severity of the potential harm, the likelihood that the

         potential harm will occur, and the imminence of the potential harm. Analysis of these factors will

         likely include considerations    based on the severity       of the pandemic in a particular atea and the

         employee's own health (for example, is the employee's disability well-controlled), and his

         particular job duties.   A determination of direct threat also would include the likelihood that an

         individual will be exposed to the virus at the worksite. Measures that an employer may be taking

         in general to protect all workers, such as mandatory social distancing, also would be relevant."


                                                             -7   -



                                                          7 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                       INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 8 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




         See "What     You Should Know About COVID-19 and the ADA, the Rehabilitation Act, and Other

         EEO Laws" at             https://www.eeoc.gov/w)'sk/whaLyelr-should-know-abo-ut-covid- l9-and-ada-

         rehabilitation-act-and-other-eeo-laws at Section K (last accessed on Feb. 9,2022).

                           32.      With respect to religious accommodation requests, Title VII requires

         employers to accommodate only those religious beliefs that are "sincerely held" and directly

         conflict with the City Order. In accordance with EEOC guidance, employers may request that an

         employee explain the religious nature of their belief and the Citywide Panel andlor a City agency

         may therefore make this request of an employee. Additionally, if the City has an objective basis

         for questioning either the religious nature or the sincerity of   a   particular belief or practice, the City

         is   justified in seeking additional supporting information. Id. at Section       L.   The Citywide Panel

         also relies upon the EEOC's guidance with respect to evaluating those "factors that           -   either alone

         or in combination    -   might undermine an employee's assertion that he sincerely holds the religious

         belief at issue [which] include: whether the employee has behaved in a manner markedly

         inconsistent with the professed belief; whether the accommodation sought                  is a particularly

         desirable benefit that is likely to be sought for secular reasons; whether the timing of the request

         renders it suspect (e.g., it follows an earlier request by the employee for the same benefit for secular

         reasons); and whether the employer otherwise has reason to believe the accommodation is not

         sought for religious reasons." Id.

                           33.      With respect to religious accommodation requests, the Citywide Panel also

         considers whether the accommodation presents an undue hardship on City operations. EEOC

         guidance provides that requiring an employer to bear more than a "de minimis," or a minimal, cost

         to accommodate an employee's religious belief is an undue hardship. Costs include not only

         monetary expenses but also the burden on the operations of the City- including, in this instance,



                                                            -8-

                                                          8 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                          INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                48   1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 9 of NYSCEF:
                                                                     RECEIVED  11      02/10/2022




         the risk of the spread of COVID- 19 to other employees or to the public. In assessing whether a

         requested religious accommodation presents an undue hardship, the Citywide panel considers the

         particular facts of each appeal and examines, for example, whether the employee requesting a

         religious accommodation to a COVID-19 vaccination requirement works outdoors or indoors,

         works in a solitary or group work setting, or has close contact with other employees or members

         of the public. As the EEOC has made clear via its guidance, another relevant consideration is the

         number of employees who are seeking a similar accommodation (i.e., the cumulative cost or

         burden on the City).

                          34.    Finally   as to   religious accommodations, it is important to note that Title VII

         does not protect social, political, or economic views, or personal preferences. "Thus, objections

         to COVID-l9 vaccination that are based on social, political, or personal                    preferences,   or on

         nonreligious concerns about the possible effects of the vaccine, do not qualify as 'religious beliefs'

         under Title   VII." Id. The Citywide      Panel   will review the record in order to determine whether the

         source of the employee's objection to vaccination is religious in nature or, in contrast, arises from

         personal or other non-religious preferences.

                          35.    It is with these guiding principles in mind that the Citywide Panel considers

         each and every appeal put before      it.   Once the panel members have had sufficient time to review

         all materials provided, each agency votes as to whether to affirm the denial or grant the requested

         accommodation.

                          36.    The Panel members also meet on a weekly basis to review the progress                  of

         the Panel's caseload, discuss specific appeals,        if   needed, as   well   as any emergent issues relevant


         to the Panel's work.




                                                               -9    -



                                                             9 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                                INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                 48 1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 10 ofNYSCEF:
                                                                    RECEIVED   11     02/10/2022




                          37.    Prior to voting on an appeal, any Citywide Panel member may request that

         the request be remanded back to the agency. This request is not subject to a vote. Any request by

         a panel member     for a remand results in a request being sent to the agency for fuither review or

         continued cooperative dialogue at the agency level. A panel member may remand back to the

         agency in advance of a vote for a multitude of reasons, including because: (1) information is

         missing from the record on appeal; (2) the agency appeared to have overlooked information that

         had been previously submitted; (3) the employee raised a new matter for the first time on appeal

         that merits agency review; or (4) the panel member believes additional cooperative dialogue

         between the agency and employee is needed to better understand the employee's request. Again,

         these remands are designed to ensure that the employee's request for an accommodation is

         accorded all reasoned consideration and attention under the circumstances.

                          38.    In the event an appeal is granted, the employee and the agency are promptly

         notified of that decision and the agency is instructed to implement the accommodation.

                          39.    In the event an appeal is denied, the employee is notified in writing of that

         decision. The decision issued by the Citywide Panel does not provide information    as to the reasons


         for the denial. This comports with applicable local, state and federal law which does not require

         an employer to provide an employee with a written justification as to why the accommodation was

         denied.   See   N.Y.C. Admin. Code $ 8-107(2S)(d) ("Upon reaching a final determination at the

         conclusion of a cooperative dialogue pursuant to paragraphs (a) and (c) of this subdivision, the

         covered entity shall provide any person requesting an accommodation who participated in the

         cooperative dialogue with a written final determination identiffing any accommodation granted or

         denied.").




                                                         - 10-


                                                      10 of 11
FILED: NEW YORK COUNTY CLERK 02/10/2022 12:40 PM                                              INDEX NO. 151169/2022
NYSCEF DOC. NO. Case
                 48 1:21-cv-07863-NRB Document 158-3 Filed 05/13/22 Page 11 ofNYSCEF:
                                                                    RECEIVED   11     02/10/2022




                        40. The above-described        process   is uniform for all City      agencies and

         employees.

                        41.    With respect to DOE employees, any DOE employee who submitted               a


         request for a religious accommodation to DOE and had that request denied, was afforded the

         opportunity to appeal that denial before a neutral arbitrator. In the event the arbitrator affirmed

         the denial, the DOE employee was subsequently given the opportunity to submit an additional

         appeal to the Citywide Panel. Once an appeal is filed with the Citywide Panel, the process applies

         described in Paragraphs 14 through 39. The Citywide Panel does not accept appeals of denials     of

         medical accommodations from DOE employees

         Dated:         New York, New York
                        February 9,2022

                                                                       b0, zl
                                                                      h/t ffi
                                                                        ERIC J. EICHENHOLTZ




                                                        - 11-


                                                     11 of 11
